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                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA

 Dorothy Nairne, et al.,

         Plaintiffs,

 v.
                                                   Civil Action: 3:22-cv-00178

 Kyle Ardoin, in his official capacity as
 Secretary of State for Louisiana,

         Defendant.


                           MOTION TO WITHDRAW AS COUNSEL

        NOW INTO COURT, through undersigned counsel, comes Intervenor-Defendant the State

of Louisiana, through Louisiana Attorney General Jeff Landry, who respectfully submits this

motion to withdraw Jeffrey Wale as counsel of record in this matter.

        Jeffrey Wale currently represents the Intervenor-Defendant and is employed as an Assistant

Attorney General in the Louisiana Department of Justice. He is leaving his employment in the

Louisiana Department of Justice. The State of Louisiana will remain represented by the other

counsel enrolled in this suit.

        WHEREFORE, Intervenor-Defendant the State of Louisiana, through Louisiana Attorney

General Jeff Landry, respectfully prays that this motion be granted and Jeffrey Wale be withdrawn

as counsel of record in this matter.
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                             Respectfully submitted,

                             Jeff Landry
                             Louisiana Attorney General

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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on this 3rd day of January, 2024, the foregoing has been sent

electronically to all counsel of record.

                                           /s/ Jeffrey M. Wale
                                             Jeffrey M. Wale
